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 LAURA CURRAN                                                                  JARED A. KASSCHAU
 County Executive                                                                County Attorney



                                      COUNTY OF NASSAU
                               OFFICE OF THE COUNTY ATTORNEY

                                                          May 1, 2020

 Honorable Pamela K. Chen
 United States District Court Magistrate Judge
 United States District Court, Eastern District NY
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re.:    Jones v. Sposato, et al.
                        16-CV-5121 (PKC)(PK)

 Dear Judge Chen:

 The Nassau County Attorney’s Office represents County Defendants in connection with the
 above-referenced matter.

 I write to respectfully request an additional extension of time within which to file the parties’
 stipulation and order of dismissal. This is County Defendants’ second request for an extension of
 time. This application is being made without having sought Plaintiff’s consent. The reason being,
 is that Plaintiff is presently being housed at Nassau County Correctional Center.

 As indicated in County Defendants’ March 1st Status Report, undersigned had transmitted to Mr.
 Jones a W-9 form which needed to be completed by Plaintiff in order for undersigned to process
 the settlement payment. As of this writing, I have not been informed that my office has received
 a signed W-9 from Mr. Jones. Additionally, due to COVID-19, I am informed that the Nassau
 County Correctional Center is on modified lock-down which is likely affecting Mr. Jones’ ability
 to communicate with undersigned. Finally, our office has also been closed to non-essential
 personnel since March 16, 2020. This closure has prevented undersigned from being at the office
 and having complete access to files.

 Therefore, it is respectfully requested that the parties be afforded an additional 60 days within
 which to file the stipulation and order of dismissal with the Court.

 Thanking the Court for its time and consideration, I remain

                                                               Respectfully,
                                                               /S Pablo A. Fernandez
                                                               Pablo A. Fernandez
                                                               Deputy County Attorney




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 cc:   Cory Terrell Jones (Via First Class Mail)
       19000534
       Nassau County Correctional Center
       100 Carman Avenue
       East Meadow, New York 11554
